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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                              )
CAMPAIGN LEGAL CENTER,                        )
                                              )
       Plaintiff,                             )
                                              )       Civil No. 18-1187 (TSC)
       v.                                     )       Civil No. 18-1771 (TSC)
                                              )
U.S. DEPARTMENT OF JUSTICE,                   )
                                              )
       Defendant.                             )
                                              )

                                   JOINT STATUS REPORT

       Pursuant to the parties’ request in their July 12, 2021, Joint Status Report, Plaintiff

Campaign Legal Center (“CLC”) and Defendant United States Department of Justice (“DOJ”)

hereby submit this Joint Status Report in this Freedom of Information Act (“FOIA”) case.

       As previously reported, the Civil Rights Division completed its supplemental search and

completed its response by releasing three responsive emails on June 23, 2021. On July 9, 2021,

the Justice Management Division completed its response by releasing an unredacted version of

one email.

       Aside from the matters on appeal, the only remaining issue before the Court is

Defendant’s Exemption 5 withholdings in Case No. 18-1771. Specifically, the open issues relate

to the following records or categories of records described by DOJ as follows:

       1.       “Email Correspondence with the White House” (previously also withheld in full

pursuant to the presidential communication privilege);

       2.       “Draft USCCR Interrogatory Responses” (previously also withheld in full

pursuant to the attorney work product doctrine);

       3.       Draft Correspondence Between JMD and Department of Commerce;
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       4.       Draft Correspondence with Representative Gonzalez;

       5.       Deliberative Discussions Regarding Inter-Agency Correspondence;

       6.       Deliberative Discussions Regarding Congressional Correspondence;

       7.       Deliberative discussions regarding the drafting process;

       8.       Deliberative discussions regarding the Census and/or ACS; and

       9.       Document described as “Draft response. Census. Honorable Vicente Gonzalez”

       The parties propose the following briefing schedule to resolve these issues:

 Defendant’s Renewed Motion for Summary Judgment                           September 17, 2021

 Plaintiff’s Combined Renewed Cross-Motion for Summary Judgment             October 19, 2021
 and Opposition to Defendant’s Renewed Motion for Summary
 Judgment

 Defendant’s Combined Opposition to Plaintiff’s Cross-Motion for           November 9, 2021
 Summary Judgment and Reply in Support of Defendant’s Renewed
 Motion for Summary Judgment

 Plaintiff’s Reply in Support of Plaintiff’s Cross-Motion for summary      November 23, 2021
 Judgment

Dated: July 21, 2021                          Respectfully submitted,

                                              __/s/ Adam Miller__________________
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